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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
                                       Plaintiff,    §
                                                     §    Criminal No. 2:19-CR-079-D
 VS.                                                 §
                                                     §
 SHANE ANDREW SMITH (1),                             §
                                                     §
                                     Defendant.      §


                            SENTENCING SCHEDULING ORDER


       The probation officer must furnish the presentence report (“PSR”) to the court, the

defendant, defendant’s counsel, and the attorney for the government before August 20, 2019 at

noon. The court will sentence the defendant on Tuesday, October 01, 2019 at 9:00 a.m.


       Within 14 days after receipt of the PSR, the parties must deliver to the court, the probation

officer, and the opposing party their objections, if any, to the PSR, or a statement that the party

adopts the PSR. Objections must be set forth in writing and must identify the specific paragraph

or part of the paragraph in the PSR to which objection is made.


       No later than 15 days before the date of sentencing, the probation officer must furnish to

the court, the defendant, defendant’s counsel, and the attorney for the government any revisions

or addendum to the PSR.


       No later than 7 days before the sentencing date, the parties must deliver to the court, the

probation officer, and the opposing party any objections to the addendum. Objections must be set
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forth in writing and must identify the specific paragraph or part of the paragraph in the addendum

to which objection is made.


       All other written materials (e.g., character or other supporting letters or sentencing

memoranda) submitted on behalf of the defendant must be submitted to the court no later than 14

days after the defendant receives the PSR.


       In any case in which 18 U.S.C. §§ 3663-64 apply, no later than 5 days from the date of this

order, the attorney for the government must provide to the probation officer all information that

the officer needs to comply with crime victim restitution requirements.


       If, during the PSR investigation, it is determined that Texas Youth Commission (“TYC”)

records are needed, the court orders the TYC to release these records to the probation officer

assigned to prepare the PSR, acting in the performance of the officer’s official duties pursuant to

Fed. R. Crim. P. 32. The specific records that are to be released include documents pertaining to

the defendant’s social history, court disposition records, substance abuse treatment records,

psychological evaluations, other mental health treatment records, educational records, general

health records, adjustment while incarcerated records, and release dates from the TYC.


       SO ORDERED.

       June 18, 2019.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE




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